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            EXHIBIT A-37
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            DISTRICT OF COLUMBIA COURT OF APPEALS

             BOARD ON PROFESSIONAL RESPONSIBILITY                        Sep 1 2022 4:52pm




In the Matter of

JEFFREY B. CLARK                               Disciplinary Docket No.

A Member of the Bar of the District            2021-D193
of Columbia Court of Appeals

Bar No. 455315

Date of Admission: July 7, 1997


                         MOTION TO DISMISS
                       AND BRIEF IN SUPPORT


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                 DISTRICT OF COLUMBIA COURT OF APPEALS

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                             MOTION TO DISMISS AND
                                   BRIEF IN SUPPORT

       Comes now Jeffrey B. Clark, Respondent in the above-entitled matter, and

moves to dismiss the Specification of Charges against him on the grounds that the

Board lacks jurisdiction over the conduct alleged in the Charges, Respondent

possesses immunity, and that the Charges fail to state a violation of the Rules of

Professional Responsibility (the “Rules”).1

                            STATEMENT OF THE CASE
       I.      P R O C E DU R A L P OS T UR E




1 All arguments in this Motion and brief that relate to the D.C. Rules are presented in the alternative
to the logically prior arguments of whether the D.C. Bar possesses jurisdiction to apply its rules to
the charged conduct in the first place.
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                                                                           . Senator

Durbin is a strongly partisan Democrat who was implacably opposed to the policies

of the Trump Administration. This case is highly charged politically and will be the

subject of substantial publicity if it is not maintained under seal.




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      Respondent sought and was granted, over the objection of the ODC, an

extension of time to answer or respond to the Charges until September 1, 2022.2




      Respondent has also filed with the Board a motion under Board Rule 4.2 to

defer proceedings on the Charges ntil                                             ,a

related congressional investigation, and a related criminal investigation are

concluded.

      In light of the Hearing Committee’s August 31, 2022 ruling (as referenced in

footnote 1),                                                                   or on

the request to defer, Respondent is obliged to preserve his rights by submitting this

Motion to Dismiss, even though many of the principal arguments in this Motion are




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       II.     T H E A L L E G A T I O N S I N T H E C H A R G ES

       After some introductory factual allegations, the Charges specified by ODC all

relate to a draft of a letter allegedly prepared by Respondent. The Charges allege that

four statements in the letter were false and that one was misleading, constituting

attempted dishonesty in violation of Rule 8.4(a) and (c) of the Rules. The draft letter

in question was conspicuously labeled in the header on each and every page with the

following in red and bolded type: “Pre-Decisional & Deliberative/Attorney-Client

or Legal Work Product Georgia Proof of Concept” (the “Pre-Decisional Draft”).

See Subverting Justice: How the Former President and His Allies Pressured DOJ to

Overturn the 2020 Election, Interim Majority Staff Report, Senate Judiciary

Committee, Key Document H, pp. 187-191 (“Senate Judiciary Report”).3

       The allegedly false statements and the allegedly misleading statement on

which the Charges rest all related to certain positions or determinations that the Pre-

Decisional draft proposed the Department of Justice (“DOJ”) would take regarding

the election controversies in Georgia, if they were agreed to by Respondent’s

superiors short of the dispute reaching the President or by the President if the dispute

reached the Oval Office. The Charges contend the proposed positions or

determinations were false because the DOJ had not yet taken the positions or

determinations proposed by the Pre-Decisional Draft.


3 Available at https://tinyurl.com/4euzhyjh, last visited (Sep. 1, 2022).



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      Thus, paragraph 15 alleges that the statement in the Pre-Decisional draft that

DOJ had “identified significant concerns that may have impacted the outcome of the

election in multiple States, including the State of Georgia” was false because “DOJ

was aware of no allegations of election fraud in Georgia that would have affected

the results of the presidential election.”

      Paragraph 16 alleges that that the statement in the Pre-Decisional draft that

DOJ “found ‘troubling the current posture of the pending lawsuit in Fulton County’

and the ‘litigation’s sluggish pace’” were false because “DOJ was not concerned by

its lack of progress.”

      Paragraph 17 alleges that the letter’s statement “that in Georgia … both a slate

of electors supporting Joseph R. Biden, Jr., and a separate slate of electors supporting

Donald J. Trump, gathered on that day at the proper location to cast their ballots, and

that both sets of those ballots have been transmitted to Washington D.C. to be opened

by Vice President Pence” was misleading because only one slate of electors had been

certified by the Governor of Georgia. ODC apparently contends the statement is

misleading by omitting reference to certification.

      Paragraph 18 alleges the statement in the Pre-Decisional Draft that DOJ had

concluded that the Governor should convene a special session of the legislature was

false because DOJ “had not made such a determination.”

      Paragraph 19 alleges that the statement in the Pre-Decisional Draft that DOJ



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had concluded that the legislature could call itself into session if the Governor

refused was false because DOJ “had not made such a determination.”

      The Charges then describe a series of discussions and meetings in which

Respondents’ immediate superiors rejected the Pre-Decisional Draft, and a meeting

with the President on January 3, 2021 in which President Trump also rejected the

Pre-Decisional Draft. As a result, DOJ never took the positions or made the

determinations proposed in the Pre-Decisional Draft, nor do the Charges allege that

Respondent took such positions outside the halls of the Executive Branch in defiance

of the decision rendered by the President. Nor has former President Trump

complained about Respondent’s conduct.

      The final charge conclusorily alleges that Respondent’s conduct as alleged in

the Charges as a whole was an attempt to engage in conduct that would seriously

interfere with the administration of justice. There is no specification of how or why

any of the conduct alleged would seriously interfere with the administration of

justice in any tribunal or proceeding.

      The gist of the Charges is that Respondent made false statements about DOJ’s

existing positions and determinations when he proposed in a confidential draft that

DOJ take different positions than his superiors preferred and make different

determinations. As noted, the proposed draft was rejected by Respondent’s superiors

and by the President as the ultimate decisionmaker.



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           ARGUMENT AND CITATION OF AUTHORITY

      I.     T H E B O A R D L AC KS J UR IS D IC T I O N .

      The Board lacks jurisdiction over the charged conduct for multiple

fundamental reasons.

              Second, the assertion of disciplinary authority by any local bar

association over internal confidential deliberations of senior DOJ lawyers, including

directly with the President, would violate the separation of powers by intruding upon

and attempting to regulate the President’s exercise of his core Article II authorities

to remove and appoint senior officers of the DOJ, to supervise federal law

enforcement and investigations, unconstitutionally interfering with the President’s

authority under Take Care Clause and the Opinion Clause (alternatively, if the

District were entitled to be treated as a “State” under the relevant federal statute

(which it is not), then Disciplinary Counsel’s assertion of authority would conflict

with the Constitution and thereby violate the Supremacy Clause and be preempted.

Third, the federal statute and its implementing regulation do not grant the jurisdiction

claimed by ODC as a straightforward matter of statutory interpretation and

administrative law.




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             2.     28 U.S.C. § 530B( a) D O ES N O T G IV E TH E B O A R D
                    J U R IS D IC T ION T H A T W O U LD I NT E R F E RE W IT H T HE T A K E
                    C A R E C LA US E , U.S. C ON S T ., A R T . II, § 3, AN D T HE
                    O P IN IO N C L A US E , U.S. C ON S T ., A R T . II, § 2, C L . 1.

      Under the U.S. Constitution, the President of the United States, not the

Attorney General (as is often asserted in the media popular audiences), is the chief

law enforcement officer. See U.S. Const., art. II, § 3 (the President “shall take Care

that the Laws be faithfully executed ….”). The President’s constitutional

responsibility for seeing that the laws be faithfully executed, carry with it, as a matter

of settled law, “illimitable” discretion to remove principal officers carrying out his

Executive functions. See Free Enterprise Fund v. PCAOB, 561 U.S. 477, 493 (2010).

The Constitution vests all Federal law enforcement power, and hence prosecutorial


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discretion, in the President. The President’s discretion in these areas has long been

considered “absolute,” and his decisions exercising this discretion are presumed to

be regular and are generally deemed non-reviewable. See, e.g., United States v.

Armstrong, 517 U.S. 456, 464 (1996); United States v. Nixon, 418 U.S. 683, 693

(1974); see generally S. Prakash, The Chief Prosecutor, 73 GEO. WASH. L. REV. 521

(2005). The Attorney General and other DOJ lawyers such as the Respondent

exercised discretion delegated to them by the President subject to his supervision.

They are “the hand” of the President for the discharge of these authorities. Ponzi v.

Fessenden, 258 U.S. 254, 262 (1922).

      To assist the President in the discharge of these authorities and

responsibilities, he has the right to receive full and frank advice and information

from his advisors. The Opinion Clause imposes on senior federal officers like

Respondent a reciprocal duty to provide such advice upon request. See U.S. Const.,

art. II, § 2, cl. 1 (Opinion Clause); 28 U.S.C. § 506 (Assistant Attorney Generals,

like Mr. Clark, to be appointed by President with advice and consent of Senate);

OLC Opinion, State Bar Disciplinary Rules as Applied to Federal Government

Attorneys (Aug. 2, 1985) (“Rules promulgated by state courts or bar associations

that are inconsistent with the requirements or exigencies of federal service may

violate the Supremacy Clause.”), available at https://tinyurl.com/56bft7sb, last

visited (Sep. 1, 2022).



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      This is not a situation in which Respondent appeared before a Court

(inherently subjecting himself to its supervisory jurisdiction) in the District of

Columbia and misrepresented some fact at oral argument. This case is an attempt by

an organ of the D.C. government to peel back the curtain of the Executive Branch

and second guess its confidential internal deliberations at the highest level—among

the senior-most officials of DOJ and directly with the President himself in the Oval

Office regarding how to carry out the President’s core authorities under Article II.

For a State to try to do that would be a constitutionally unthinkable violation of

federalism and the Supremacy Clause and, if the State were purportedly acting

pursuant to congressional statute, to the separation of powers too. For a city

government to try to do so (even one that Congress sometimes treats as if it were a

State, like D.C.—though Congress did not do so here) is even more unthinkable and

a patent violation of the separation of powers because the authority of the DCCA

and hence the Board descends from Congress’s Article I lawmaking. Either way (i.e.,

the District acting as an analogue to a “State” and thereby violating the Supremacy

Clause or the District acting as a creature of Congress and therefore violating the

separation of powers), the Charges should therefore be dismissed as an

unconstitutional invasion of core Article II authorities of the President.

      Certain categories of state action are directly prohibited and thus preempted

by the Constitution. See, e.g., U.S. Const. art. I, Section 9, cl. 5 (“No Tax or Duty



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shall be laid on Articles exported from any State.”); id. at cl. 6 (“No Preference shall

be given by any Regulation of Commerce or Revenue to the Ports of one State over

those of another: nor shall Vessels bound to, or from, one State, be obliged to enter,

clear, or pay Duties in another.”); id. at art. I, Section 10, cl. 1 (“No State shall enter

into any Treaty, Alliance, or Confederation; grant Letters of Marque and Reprisal;

coin Money; emit Bills of Credit; make any Thing but gold and silver Coin a Tender

in Payment of Debts; pass any Bill of Attainder, ex post facto Law, or Law impairing

the Obligation of Contracts, or grant any Title of Nobility.”); id. at cl. 2 (“No State

shall, without the Consent of the Congress, lay any Imposts or Duties on Imports or

Exports, except what may be absolutely necessary for executing it's inspection Laws:

and the net Produce of all Duties and Imposts, laid by any State on Imports or

Exports, shall be for the Use of the Treasury of the United States; and all such Laws

shall be subject to the Revision and Controul of the Congress.”). The separation of

powers is one of the key structural bulwarks protecting liberty. Enactments by state

bars or attempts to impose discipline that violate the separation of powers thus can

be held to be preempted by their frank incompatibility with the constitutional

structure.

             3.      28 U.S.C. § 530B(a) A ND ITS I M PL E M EN T IN G
                     R E GU L A T IO N , 28 C.F.R. § 77.2(h) D O N O T G IV E TH E
                     B O A R D J U R IS D IC T IO N O V E R T HE C H A RGE D C O N DU C T .

       ODC appears to have given no thought whatsoever to how the Charges



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unconstitutionally invade the President’s core Article II authorities. ODC has been

content so far to rest its assertion of jurisdiction over the charged conduct on 28

U.S.C. § 530B(a) and its implementing regulations at 28 C.F.R. § 77.2(h). A mere

statute and regulation, however, cannot override a core constitutional limitation on

the authority of the government of the District of Columbia. But even if no

constitutional limitation were exceeded, under elementary principles of statutory

construction, neither this code section nor the regulation grant the necessary

authority over the charged conduct.

      The statute Congress passed purporting to subject Justice Department lawyers

to state and local bar rules, 28 U.S.C. § 530B(a), provides that “[a]n attorney for the

Government shall be subject to State laws and rules, and local Federal court rules,

governing attorneys in each State where such attorney engages in that attorney’s

duties, to the same extent and in the same manner as other attorneys in that State.”

(emphasis added). The District of Columbia is not a “State.” All law in the District

is federal law and Congress alone defines the nature, scope, and means of

enforcement of all federal powers exercised here, including that of the D.C. Bar. U.S.

Const., art. I, § 8, cl. 17 (“Seat of the Government”). Specific language is ordinarily

required to treat the District as if it were a State. For example, the Twenty-Third

Amendment, by specific text, treats the District as a State for the limited purpose of

electoral college votes and the Twelfth Amendment. In no other respect does the



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Constitution treat the District as a State. See also, e.g., District of Columbia v. Carter,

409 U.S. 418, 432-33 (1973) (D.C. not a State for purposes of 42 U.S.C. § 1983—

with the current version of Section 1983 being amended to apply not just to “States”

but to the District). The United States Code is replete with examples where Congress

has specifically defined D.C. to fall within the meaning of the term “State,” but only

for purposes of that particular statute.4 Indeed, by contrast, Chapter 31 of part II of

title 28 of the United States Code (where 28 U.S.C. § 530B is found) lacks any

specialized definition section. Congress surely knows how to confer power on

District authorities when it wants to and yet it expressly withheld it here.

       In 1999, as a matter of administrative law, DOJ issued a regulation under

Section 530B(b) that improperly purported to extend the reach of Section 530B(a)

to the District of Columbia. See 28 C.F.R. § 77.2(h).

       But this regulation is ultra vires because a federal agency cannot extend to the

District in a regulation a power not given to it by the enabling statute. The preamble

of the regulation cites to 28 U.S.C. §§ 509, 510, 515(a), 516, 517, 519, 533, and 547.

See 64 Fed. Reg. 19,273, 19,274 (Apr. 20, 1999). Simply put, none of these statutes



4 See, e.g., 28 U.S.C. § 1257(b) (“For the purposes of this section, the term ‘highest court of a
State’ includes the District of Columbia Court of Appeals.”); 42 U.S.C. § 8285a(2) (“the term
‘State’ means any of the several States, the District of Columbia …”); see also, e.g., 26 U.S.C. §
170(c)(1) (applying term “charitable contribution” for tax purposes to include gifts for the use of
“States, a possession of the United States … or the United States or the District of Columbia”);.
And Supreme Court Rule 47 states that “[t]he term “state court,” when used in these Rules,
includes the District of Columbia Court of Appeals.”


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even reference the District of Columbia specifically. And these provisions say

nothing about the power of D.C. Bar authorities to sit in oversight of the

discretionary actions let alone internal deliberations of U.S. Justice Department

lawyers.5 The 1999 rule is thus invalid under step one of the Chevron test, which

voids regulatory interpretations of any statute that conflict with the statute’s plain

text, interpreted using “traditional tools of statutory construction.” Chevron, U.S.A.,

Inc. v. NRDC, Inc., 467 U.S. 837, 843 n.9 (1984). And the canon of interpreting

statutes as part of the corpus juris (the whole body of the law) is no doubt such a

traditional tool of statutory interpretation. See, e.g., Branch v. Smith, 538 U.S. 254,

282 (2003) (“courts do not interpret statutes in isolation, but in the context of the

corpus juris of which they are a part, including later-enacted statutes.”). The plain

text is violated here because D.C. is not a “State.”

       Additionally, the Supreme Court has decided West Virginia v. EPA, since this

investigation got underway. 142 S. Ct. 2587 (2022). West Virginia is a landmark

administrative law decision holding that a clear statement to delegate power is


5 The preamble of the regulation also mentions (1) Pub. L. 96-132, 93 Stat. 1040, 1044 (1979);
and (2) Pub. L. 105-277 (1998), section 102 of the Departments of Commerce, Justice and State,
the Judiciary, and Related Agencies Appropriations Act. But both of these provisions are
appropriations law limited to one-off fiscal years; they lack general effect. Moreover, the former
provision predates Section 530B(a) and the latter provision is silent on 530B(a) and thus cannot
be read to amend it. Finally, the fact that the statutes DOJ cited to extend Section 530B(a) to
District of Columbia Bar rules point to two specific appropriations statutes mentioning the District
shows that not even the DOJ of 1999 thought that it would be plausible to argue that D.C. Bar’s
rules were “local Federal court rules” within the meaning of Section 530B(a) or the preamble
would have made that argument.

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required in a statute when the entity wielding delegated power seeks to resolve a

“major question.” Id. at 2607-08. State and local regulation of Executive Branch

law enforcement discretion in connection with the 2020 presidential election

controversies is surely such a “major question” of political significance. Id. And

even if the “question” at issue is conceived in more generic terms as a city bar’s

regulation of internal Executive Branch deliberations at the highest level, a “major

question” is undoubtedly involved here. The major questions doctrine operates as a

kind of Chevron step zero and here, the notion that the D.C. Bar can penetrate into

and indeed take over Justice Department deliberations flunks at that zero step, since

there is no clear statement the local D.C. Bar possesses such extraordinary power

over the highest councils of the Executive Branch. See also id. at 2617, 2621

(Gorsuch, J., concurring) (doctrine protects both separation of powers and

federalism).

      In short, the statute by its plain terms does not grant disciplinary authority to

the District of Columbia, and under Chevron step one (and the new Chevron step

zero established by the West Virginia decision) such authority cannot be conjured out

of nothingness by the expedient of a regulation. This would be unlawful

bootstrapping in violation of Chevron. Hence, the Board lacks disciplinary authority

over the charged conduct of the Respondent and the charges should be dismissed.




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             4.     T H E B OA R D L A C KS J U R IS D IC T IO N B E C A US E TH E D.C.
                    B A R D O ES N O T “O R D IN A R IL Y A P P L Y ” D IS C IP L IN E T O
                    T H E C O N DU C T S P E C IF IE D IN TH E C H A RGE S .

      Even if the foregoing jurisdictional hurdles were overcome, 28 U.S.C. § 530B

extends state bar disciplinary jurisdiction over federal government lawyers only “to

the same extent and in the same manner as other attorneys in that State.” (Emphasis

added). Similarly, the regulation subjecting lawyers working for the federal

government to local bar disciplinary processes, 28 C.F.R. § 77.2(j)(2), does not apply

if the local jurisdiction “would not ordinarily apply its rules of ethical conduct to

particular conduct or activity by the attorney.” (Emphasis added).



                  , we are not aware of any case where Rule 8.4 has been applied to

any pre-decisional discussion among a team of lawyers concerning a proposed draft

statement of position in a letter that, for policy reasons, was never sent, much less to

a senior Senate-confirmed DOJ official engaged in law enforcement and policy

deliberations falling within the President’s core Article II authorities at the highest

levels of the DOJ and with the President himself. ODC has been repeatedly

challenged to identify any such case, and has yet to do so.

      As far as the undersigned can tell, discipline has never been applied to conduct

like that charged, much less ordinarily. In other words, the Bar has no jurisdiction

under 28 U.S.C. § 530B or 28 C.F.R. § 77.2 to impose discipline on a theory so



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aggressively novel it has never previously been applied to any lawyer under similar

circumstances.

      II.    T H E C H A R G E S C AN N O T S U RM O UN T TH E H UR D L E O F
             O F F IC I A L I MMU N I T Y D OC T R I N E .

      Nixon v. Fitzgerald holds that President Nixon was entitled to absolute

immunity from liability predicated on his official acts as President. 457 U.S. 731

(1982). And the D.C. Circuit in Banneker Ventures, L.L.C. v. Graham, 798 F.3d 1119

(D.C. Cir. 2015), held that an official working for the Washington Metropolitan Area

Transit Authority was entitled to absolute immunity when acting within the scope of

his discretionary authority (akin to the ethical duties lawyers are held to in many

traditional cases such as a lawyer making a misrepresentation to the D.C. Superior

Court or D.C. Court of Appeals). The D.C. Circuit found that “[o]nly alleged conduct

that manifestly violates an ethical proscription or other statute, regulation, or policy

that constrains the exercise of discretion may be subject to liability.” Id. at 1144.

      The purpose of the official immunity doctrine is to discourage timidity in the

execution of official duties—a federal constitutional interest descending from

Article II that the inferior government interests of the D.C. Bar lack the power to

invade or diminish. “When officials are threatened with personal liability for acts

taken pursuant to their official duties, they may well be induced to act with an excess

of caution or otherwise to skew their decisions in ways that result in less than full

fidelity to the objective and independent criteria that ought to guide their conduct.”


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Forrester v. White, 484 U.S. 219, 223 (1988). And that is certainly true here. Mr.

Clark should not be chilled by local bar rules in giving advice to the President about

the meaning and application of the Constitution to a highly contentious area of

election law in the context of the most disputed presidential election perhaps in

American history. Instead, the criteria that were exclusively to guide Mr. Clark’s

conduct were an analysis of the interests of the Executive Branch and ensuring that

the Constitution was upheld and defended, which in context meant defending the

plenary prerogatives of state legislatures to select their own electors. See infra at 29.

      “In weighing claims of absolute immunity, we apply the two-part test of

Westfall v. Erwin[, 484 U.S. 292, 295 (1988)]. “[Covered federal] officials enjoy

absolute immunity when their conduct falls “within the scope of their official duties

and the conduct is discretionary in nature.” Banneker Ventures, 798 F.3d at 1140. Mr.

Clark meets both prongs of the absolute-immunity test. First, Mr. Clark was

specifically directed to investigate irregularities in Fulton County, Georgia by the

President’s Chief of Staff Mark Meadows, acting for the President. See Senate

Judiciary Report, Key Document W. Second, the conduct alleged in the Charges was

“discretionary.” No ministerial or mandatory duty existed for Mr. Clark to

investigate election irregularities and write a letter in a particular form making

constitutional arguments that are still unsettled. See infra at 29.

      This doctrine applies, in essence, even in the criminal context, with the D.C.



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Court of Appeals having held that bar disciplinary proceedings are construed as

quasi-criminal. See In re Artis, 883 A.2d 85, 101 (D.C. 2005).See, e.g., 8 OLC

Opinions 101, 136-137 (May 30, 1984), c, (extending official immunity rationale of

Nixon v. Fitzgerald, 457 U.S. 731 (1982) and progeny to the criminal context). The

Supremacy Clause provides protection for federal agents facing criminal charges

from an inferior government as to actions taken in the course of their duties and in a

manner generally authorized by federal law. To be immune, the federal agent must

act within his government authority, do “no more than is necessary and proper in the

performance of his duty,” and have “an honest and reasonable belief that what he did

was necessary in the performance of his duty.” Clifton v. Cox, 549 F.2d 722, 729-30

(9th Cir. 1977). As to the first prong, we incorporate the rest of this brief by reference

to establish that Mr. Clark acted within the scope of his official duties and suggested

that which was necessary and proper within the performance of his duties. And, as

to the second, ODC pleads nothing in the charges to indicate that Mr. Clark did not

have a reasonable and honest belief in the advice the Charges allege he provided.

Disagreement with the opinions of other senior officials on contested questions of

fact, law and policy is insufficient as a matter of law to defeat official immunity.

      For these reasons, attempts to apply Banneker Ventures-like standards of

conduct devised by the local D.C. Bar to Respondent are barred based on the doctrine

of absolute immunity as well as the complementary doctrine that the criminal law of



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inferior sovereignty cannot be applied to federal agents without it being blocked by

the Supremacy Clause and the logic of the Constitution confines the unique metes

and bounds of the District, making it subordinate to the national government, its

superior governing body.

      III.   T H E C H A R G E S F A I L T O S T A T E A V I OL A T I O N O F T H E
             RULES.

      Even if the Board had jurisdiction, the Charges should be dismissed because

they fail to state a cognizable violation of the Rules.

             1.     T H E R E W E R E N O F A LS E S T AT E M EN TS O R A T T E M P TE D
                    F A LS E S TA TE M E NT S AS A M AT T E R O F L A W .

      The Charges suffer a fatal logical defect. They allege that the Respondent’s

Pre-Decisional Draft made false statements about certain positions or determinations

of DOJ. The challenged statements, however, (as the face of the Pre-Decisional Draft

made clear) were mere proposals for positions and determinations that DOJ might

adopt if they were approved by Respondent’s superiors, potentially going as high

as the President himself. A proposed position in a pre-decisional discussion draft

that is inherently subject to later approval by superiors by definition cannot be

characterized as false or dishonest statements of the positions the draft proposes be

changed. Yet that non sequitur is the irreducible essence of the Charges. As mere

draft proposed positions subject to approval by superiors, the challenged statements

cannot be either false or dishonest within the meaning of Rule 8.4 (see supra n.1).



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The Charges accordingly fail to state any cognizable violation of Rule 8.4 (see supra

n.1) and should be dismissed.

      This defect in the Charges is not saved by characterizing the challenged

statements as “attempted” false or dishonest statements. The statements were either

dishonest or not, and they cannot be for the reasons stated above.

      Nor is it any answer to say that Respondent recommended or urged that the

positions in question be adopted. If they had been adopted by his superiors shy of

the President or by the President if the matter went that high (as has been reported

in the press they did), and the letter had been sent as the position of DOJ, then in that

event the challenged statements would be true—DOJ would have at that point taken

those positions and made those determinations in accord with the President’s

controlling directive.

      Moreover, the proposed positions were all opinions or policy judgments about

contested facts, points of law and policy. The most that can be said is that Respondent

made statements that on their face were not and would not be operative unless

approved. If they were not approved, they would be moot, and if they were approved

they would have been true. At most the Charges allege that Respondent argued

internally for DOJ to take certain positions and was overruled by his superiors and

the President. This is not a cognizable violation of Rule 8.4 or any other Rule of

Professional Responsibility. What is really going on here is that ODC disagrees with



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Respondent’s proposed positions and wants to punish him for harboring impure

thoughts. But there is no such thing as a thought crime under the Rules of

Professional Responsibility. Indeed, Rule 2.1 requires lawyers to put forth positions

that they know their clients will likely disagree with:

      A client is entitled to straightforward advice expressing the lawyer’s
      honest assessment. Legal advice often involves unpleasant facts and
      alternatives that a client may be disinclined to confront. In presenting
      advice, a lawyer endeavors to sustain the client’s morale and may put
      advice in as acceptable a form as honesty permits. However, a lawyer
      should not be deterred from giving candid advice by the prospect that
      the advice will be unpalatable to the client.

Id. at cmt. [1] (emphasis added).

      Paragraph 17 of the Charges does not allege an outright false statement in the

Pre-Decisional Draft. Instead, it alleges the following sentence is “misleading:”

      The Department believes that in Georgia and several other States, both a
      slate of electors supporting Joseph R. Biden, Jr., and a separate slate of
      electors supporting Donald J. Trump, gathered on that day at the proper
      location to cast their ballots, and that both sets of those ballots have been
      transmitted to Washington, D.C., to be opened by Vice President Pence.

(Emphasis added). This is alleged to be misleading because it does not note that only

the Democrat electors had been certified by the Governor. But here again, the

challenged statement is a proposed statement of DOJ’s position that would be made

only if Respondent’s superiors agreed. It is merely a draft position subject to

approval by superiors, and cannot be either false or dishonest within the meaning of

Rule 8.4 (see supra n.1). And, as with the allegedly false statements, if it had been



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approved by Respondent’s superiors, it would be a true statement of DOJ’s position.

Additionally, the letter explains that States possess the plenary power under U.S.

Const. Art. II, § 1, cl. 2 to select presidential electors. The Charges never dispute the

existence of that constitutional power or thus how it could be misleading to the

Georgia State Legislature wielding that exceptionally broad grant constitutional

power to conduct an investigation to decide whether to certify a different slate of

electors than certified by the Governor. Nor do the Charges dispute the letter’s legal

argumentation that under the Constitution, electors are selected pursuant to a direct

delegation of authority in the Constitution itself to state legislatures, not to state

legislatures plus their Governors: “The Supreme Court has explained that the

Electors Clause ‘leaves it to the legislature exclusively to define the method’ of

appointing Electors, vesting the Legislature with ‘the broadest possible power of

determination.’ McPherson v. Blacker, 146 U.S. 1, 27 (1892). This power is ‘placed

absolutely and wholly with legislatures.’ Id. at 34-35 (emphasis added).”

       Indeed, this is such an important issue that the Supreme Court has recently

granted certiorari over the validity of the so-called “independent state legislature

doctrine” in the analogous context of the election of Senators and Representatives6


6     See      Moore     v.     Harper,      No.     21-1271,      SCOTUSBLOG,        available      at
https://www.scotusblog.com/case-files/cases/moore-v-harper-2/ (last visited Sept. 1, 2022) (cert.
granted June 30, 2022 over the question: “Whether a state’s judicial branch may nullify the
regulations governing the ‘Manner of holding Elections for Senators and Representatives ...
prescribed ... by the Legislature thereof,’ and replace them with regulations of the state courts’ own
devising, based on vague state constitutional provisions purportedly vesting the state judiciary with

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The fact that Mr. Clark anticipated the position a majority of the Supreme Court may

wind up taking in the Moore v. Harper case is a point in his favor, not grounds for

discipline. Lastly in this vein, note that the pendency of the Moore case is another

reason to grant the pending Motion to Defer. It would be embarrassing to the D.C.

Bar to discipline a lawyer for advocating for the same position the Supreme Court

may ultimately adopt. Best for the Board to defer this case until Moore is resolved.

       In addition, the allegation that the statement is misleading is clearly incorrect

in the context of the Pre-Decisional Draft as a whole. The allegedly missing context

that allegedly renders the statement misleading—that only the Democrat electors

had been certified—is very clearly implied by virtually the entirety of the rest of the

draft, including and especially the immediately ensuing description of the eventual

certification and counting of the alternate slate of Democrat electors from Hawaii in

the 1960 election:

       The Department is aware that a similar situation occurred in the 1960
       election. There, Vice President Richard Nixon appeared to win the State
       of Hawaii on Election Day and Electors supporting Vice President Nixon
       cast their ballots on the day specified in 3 U.S.C. § 7, which were duly
       certified by the Governor of Hawaii. But Senator John F. Kennedy also
       claimed to win Hawaii, with his Electors likewise casting their ballots on
       the prescribed day, and that by January 6, 1961, it had been determined
       that Senator Kennedy was indeed the winner of Hawaii, so Congress
       accordingly accepted only the ballots cast for Senator Kennedy. See Jack
       M. Balkin, Bush v. Gore and the Boundary Between Law and Politics, 110
       YALE L.J. 1407, 1421 n.55 (2001).


power to prescribe whatever rules it deems appropriate to ensure a ‘fair’ or ‘free’ election.”).

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(Pre-Decisional Draft at 2). This is even more obvious if one consults the cited

footnote 55 from the article in the Yale Law Journal (paragraph breaks added):

      55. See 107 CONG. REC. 28, 291 (1961). The Hawaii story is particularly
      interesting. Initial returns suggested that Republican candidate Richard M.
      Nixon had won Hawaii, but a recount begun on December 13 gave the
      state to the Democrat, John F. Kennedy. Since the validity of the recount
      was in litigation, there were actually two sets of electors, one Republican
      and one Democratic, both of which met on the appointed day, December
      19, 1960. The acting Governor certified the Republican electors on
      November 28, 1960, but a court decision at the end of December affirmed
      the validity of the December 13 recount. The new Democratic Governor
      certified the Democratic electors on January 4, 1961, shortly after taking
      office.

      Both sets of electors were submitted to Congress, with the Democratic list
      arriving on January 6, 1961, the day that the votes were to be counted
      before a joint session of Congress as provided for in Article II. The
      presiding officer at the joint session of Congress was Vice President
      Richard Nixon, who had just lost the 1960 presidential election but was
      still technically President of the Senate. Nixon stated to the joint session
      of Congress that he did not intend to set a precedent through his actions,
      but that in his view the January 4 certificate correctly stated Hawaii's votes
      and that if there was no objection the Democratic electoral votes would be
      accepted.

      There was no objection, and the Democratic electoral votes were counted.
      In fact, Hawaii’s votes made no difference to the outcome of the election,
      which was one reason why Nixon counted them. See William Josephson
      & Beverly J. Ross, Repairing the Electoral College, 22 J. LEGIS. 145, 166
      n.154 (1996); L. Kinvin Wroth, Election Contests and the Electoral Vote,
      65 DICK. L. REV. 321, 341-43 (1961). Congress accepted Hawaii’s
      electors even though the certification of electors went well beyond the safe
      harbor period. Nevertheless, because January 4 was also well past the
      congressionally assigned date for electors to meet, there is a separate issue
      under Article II, Section 3. See infra note 58.

      The context the Charges claim is misleadingly missing is also supplied by the

reference to President Trump’s pending election contest in Georgia, which

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presupposed certification of the Democrat electors and not the Republican electors.7

The Pre-Decisional Draft is obviously premised from beginning to end on the fact

the Charges try to argue was misleadingly omitted, i.e., that it was the Democrat and

not the Republican electors that had been certified.

       A specification of charges that so unfairly takes a passage out of context to

disingenuously claim it is misleading when in context it is obviously not misleading

ought not to be countenanced and should instead be rejected out of hand.

       The ill-considered nature of the Charges is readily apparent upon even brief

reflection. If it were a violation of Rule 8.4 (see supra n.1) to advocate a position in

confidential internal deliberations that is ultimately rejected, then, absent judicial

immunity, dissenting judicial opinions would be equally subject to Bar discipline.

Dissenting opinions take different views of the facts and the law. The positions of

the dissent are first argued internally as confidential discussion drafts analogous to

the Pre-Decisional Draft at issue here. If the proposed opinion fails to gain approval,

it becomes a dissent and may or may not be published as such. The fact that the



7 O.C.G.A. § 21-2-524(a), provides that an election contest may be filed only after certification:


       (a) A petition to contest the result of a primary or election shall be filed in the office of the
       clerk of the superior court having jurisdiction within five days after the official
       consolidation of the returns of that particular office or question and certification thereof
       by the election official having responsibility for taking such action under this chapter or
       within five days after the official consolidation and certification of the returns of that
       particular office or question by the election official having responsibility for taking such
       action under this chapter following a recount pursuant to Code Section 21-2-495 ….

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dissenting opinion did not garner approval does not make its characterization of the

facts or the law “attempted dishonesty,” no matter how much at variance with the

majority opinion it might be, and no matter how vehemently the Disciplinary

Counsel may disagree. Judicial immunity—rooted in common sense—precludes

such absurd overreach, just as it should also be precluded by analogous doctrines

immunizing speech and debate in Congress, U.S. Const. art. I § 6, cl.3, and

deliberations over the exercise of core presidential law enforcement authorities

under Article II. See United States v. Nixon, 418 U.S. 683, 708 (1974). Cf. D.C. Bar

Rule XI § 19(a) (immunizing the deliberative processes of the ODC).

                                      Disciplinary Counsel displayed considerable

indignation toward Respondent based on the surrounding political context.

Disciplinary Counsel is entitled to his own personal political opinions but he should

not be shoehorning them into a Bar discipline case so far outside the proper remit of

such proceedings. As quasi-judicially noticeable, three Supreme Court Justices and

eighteen State Attorneys General publicly raised questions about the regularity of

the 2020 election similar to those raised confidentially in the draft letter that

Disciplinary Counsel finds so irksome.

      Most important in that regard is Republican Party of Pennsylvania v.

Degraffenreid, 141 S. Ct. 732 (2021). There, Justice Thomas dissented from the

denial of certiorari because non-legislative state officials had changed the statutory



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rules for federal elections and the appointment of presidential electors in violation

of the Electors and Elections Clauses of the Constitution. See U.S. Const., art. 1, §

4, cl. 1; art. II, § 1, cl. 2. Justice Alito wrote a separate dissent joined by Justice

Gorsuch to flag the same infirmity. Both dissents noted the public importance of

resolving the questions presented. If three Justices of the Supreme Court took this

view and Mr. Clark is alleged to have advanced similar views, bar discipline should

be out of the question.

      Justices Thomas and Alito also dissented in relevant fashion in Texas v.

Pennsylvania, 141 S. Ct. 1230 (2020), a 2020 election challenge filed by Texas (and

later joined by 17 other States) that complained about similar unconstitutional

election-rule changes made in the so-called battleground States. They would have

allowed Texas’s bill of complaint to be filed, potentially putting the merits of the

election challenge before the Supreme Court. And those two Justices surely did not

act unethically in the Texas case.

      Similarly, a lawyer in Respondent’s position should be allowed to present a

policy proposal to the President and to his superiors at DOJ that is aligned with the

position of 18 State Attorneys General and three Supreme Court Justices without

being charged with dishonesty and serious interference with the administration of

justice. In other words, this Court should not start down Disciplinary Counsel’s

slippery slope lest it find itself necessarily implying that three Supreme Court



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Justices and 18 State Attorneys General were all acting beyond the pale of legitimate

legal debate, the judicial canons, and the Model Code of Professional Responsibility.

              2.     T H E R E W AS N O A TT E M P T ED V IO L AT ION O F R UL E
                     8.4(d) A S A M A TT E R O F L A W .

        The Charges allege in paragraph 31(b) that “Respondent’s conduct in Count I

[sic] violated … (b) Rules 8.4(a) and 8.4(d), in that Respondent attempted to engage

in conduct that would seriously interfere with the administration of justice.”

        To the extent this charge rests upon the allegedly false statements in the Pre-

Decisional Draft, what has been said above should suffice to warrant its dismissal as

well.

        To the extent the charge rests on conduct described in the Charges other than

the allegedly false statements in the Pre-Decisional Draft, it also fails to state a

violation of Rule 8.4(a) and 8.4(d) because the conduct in question is not within the

scope of Rule 8.4(d) (see supra n.1).

        In In re Yelverton, 105 A.3d 413, 426 (D.C. 2014), this Court held that

“[c]onduct violates RPC 8.4(d) when it is (1) improper, (2) bears directly on the

judicial process with respect to an identifiable case or tribunal, and (3) harms the

judicial process in a more than a de minimis way.” (emphasis added). In re Pearson

is to the same effect, stating the third element in slightly different terms to require

that the conduct “taint[s] the judicial process in more than a de minimis way’” 228

A.3d 417,426 (D.C. 2020), citing In re Hopkins, 677 A.2d 55, 59–61 (D.C. 1996).


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       Not one of these three essential elements is remotely established by what is

alleged here. First, confidential and privileged internal deliberations and debates

over proposed positions and legal theories and arguments are not improper. A

proposed position in a Pre-Decisional Draft that on its face was subject to approval

by superiors is not improper. In In Re: Hopkins, this Court explained what is meant

by “improper” in this context:

       Our reading of Shorter, L.R., Reynolds, and our other DR 1–102(A)(5)
       cases leads us to conclude that, in order to be prejudicial to the
       administration of justice, an attorney’s conduct must meet the following
       criteria. First, of course, the conduct must be improper. That is, the
       attorney must either take improper action or fail to take action when, under
       the circumstances, he or she should act. See, e.g, Reback, supra, 487 A.2d
       [235] at 239 (D.C. 1985) (improper action); Jones, supra, 521 A.2d
       [1119]at 1121 [D.C. 1986] (failure to act). This conduct may be improper,
       for example, because it violates a specific statute, court rule or procedure,
       or other disciplinary rule, but, as here, it may be improper simply because,
       considering all the circumstances in a given situation, the attorney should
       know that he or she would reasonably be expected to act in such a way as
       to avert any serious interference with the administration of justice.

In re Hopkins, 677 A.2d 55, 60-61 (1996). A draft letter that proposes action by a

state legislature under the Electors Clause of the Constitution that would be lawful

if undertaken—and which is consistent with the “independent state legislature

doctrine” that the Supreme Court may well wind up adopting as the law of the land

in its October 2022 term—cannot be “improper” within the meaning of Rule 8.4(d).8


8 For present purposes, the Elections Clause issue in Moore v. Harper, No. 21-1271 is analogous
to the Electors Clause issue discussed in the Pre-Decisional Draft because they both confer the
relevant authority upon the state legislatures, though in the case of the Elections Clause that grant
is subject to reserved congressional authority. Compare U.S. Const. Art. II, § 1, cl. 2 (Electors

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        Second, there is no identifiable case or tribunal because the entire discussion

was internal and confidential, the letter was never sent, and no document was ever

filed in any court or tribunal anywhere, and there was no effect whatsoever upon the

proceedings of any tribunal anywhere, including the Georgia legislature or the joint

session of Congress on January 6, 2021. The draft letter does not suggest or imply

interfering with, obstructing or delaying the electoral count on January 6. It does not

suggest or imply the presentation of anything that was untrue, false or misleading on

January 6 or at any other time. To the contrary, it suggests only a state legislative

inquiry and only if the state legislature so chose, consistent with the “independent

state legislature doctrine,” into which slate of electors was the lawful choice of the

State in question (Georgia). Rather than proposing a delay of the electoral count on

January 6, 2021, it contemplates compliance with that deadline by stating that time

was of the essence in view of the upcoming proceedings on January 6. A confidential

discussion draft that was never sent that suggests that a state legislature lawfully

exercise, if it so chose, its power to determine electors under the Electors Clause did

not in fact interfere with the Electoral Count Act proceedings, nor did it attempt to

do so, nor with any other proceeding.

       Third, no judicial process or tribunal anywhere, including the joint session of




Clause) with Art. I, § 4, cl 1 (Elections Clause).



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Congress on January 6, 2021, was harmed, impaired, or tainted in any way

whatsoever because the draft letter never left the office. Once the President rejected

the draft on January 3, 2021, that was the end of the matter. Rule 8.4(d) (see supra

n.1) simply does not apply to the conduct in question.

      To apply Rule 8.4(d) (see supra n.1, as relevant to this whole paragraph) in

this novel context would require a very substantial expansion of its scope beyond

the limits of the previously defined essential elements and would further require the

retroactive application of the expanded scope to Respondent. In a quasi-criminal

proceeding like this one, retroactive application of a brand new and much more

expansive interpretation of rule 8.4(d) to embrace events having zero effect on any

judicial proceeding or tribunal would clearly run afoul of the Ex Post Facto Clause

and the fair notice component of due process. “[A] fair warning should be given to

the world in language that the common world will understand, of what the law

intends to do if a certain line is passed.” Arthur Andersen, LLP v. United States, 544

U.S. 696, 703-704 (2005) (cleaned up). “The due process clause thus ‘prevents …

deference from validating the application of a regulation that fails to give fair

warning of the conduct it prohibits or requires.’ Gates & Fox Co. v. OSHRC, 790

F.2d 154, 156 (D.C. Cir. 1986).” General Elec. Co. v. EPA, 53 F.3d 1324, 1328 (D.C.

Cir. 1995). See also id. at 1329 (“Of course, it is in the context of criminal liability

that this ‘no punishment without notice’ rule is most commonly applied. See, e.g.,



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United States v. National Dairy Corp., 372 U.S. 29, 32–33 (1963) (‘[C]riminal

responsibility should not attach where one could not reasonably understand that his

contemplated conduct is proscribed.’).”).

                                 CONCLUSION

      The Charges in this case should be dismissed because they are an

unprecedented and unconstitutional attempt by a mere city government to invade

and regulate the exercise of core law enforcement authorities of the President under

Article II. Even absent such flagrant unconstitutional overreach, the Charges should

be dismissed because the plain text of the statute and the regulation on which the

D.C. Bar relies do not grant jurisdiction over Respondent’s conduct. Additionally,

Respondent’s obviously discretionary alleged conduct is protected by official

immunity. Finally, even if the D.C. Bar had any legal authority over the conduct in

question, the Charges should be dismissed because Respondent’s conduct did not

violate Rule 8.4 (see supra n.1) as a matter of law.




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     Respectfully submitted this 1st day of September, 2022.

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                   CERTIFICATE OF COMPLIANCE

      The undersigned certifies that this filing is prepared in Times New Roman 14,

and that the word count in the relevant sections of this filing, as measured by

Microsoft Word, including footnotes is 9,762.


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                         CERTIFICATE OF SERVICE

      I hereby certify that I have on this day served counsel for the opposing party

with a copy of this Motion to Dismiss and Brief in Support by U.S. First Class Mail

with sufficient postage thereon to insure delivery, and by email addressed to:

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